462 F.2d 488
    72-2 USTC  P 16,061
    Freeman W. SAILOR, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.Louis R. KLOTTER, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    Nos. 71-2029, 71-2057.
    United States Court of Appeals,
    Sixth Circuit.
    April 25, 1972.
    
      1
      William S. Heidenberg, Louisville, Ky., Raymond F. Bossmeyer, Heidenberg &amp; Bossmeyer, Louisville, Ky., on brief, for appellants.
    
    
      2
      Bruce I. Kogan, Tax Division, Department of Justice, Washington, D. C., Scott P. Crampton, Asst. Atty. Gen. Meyer Rothwacks, John P. Burke, Attys., Tax Division, Department of Justice, Washington, D. C., on brief, George J. Long, U. S. Atty., Louisville, Ky., of counsel, for appellee.
    
    
      3
      Before CELEBREZZE and PECK, Circuit Judges, and RUBIN, District Judge.*
    
    ORDER
    
      4
      In these actions plaintiffs-appellants seek to recover taxes paid by them on the ground of alleged unconstitutionality of the federal wagering tax provisions, 26 U.S.C. Secs. 4411 and 4401, under which such taxes were assessed.  The Court being fully advised by the record on appeal, the briefs and oral arguments of counsel has concluded that the contentions of the plaintiffs-appellants are without merit, and accordingly, for the reasons set forth in the Memorandum Opinion filed by District Judge Rhodes Bratcher,
    
    
      5
      It is ordered that the judgment of the District Court, 343 F.Supp. 1279 be and it hereby is affirmed.
    
    
      
        *
         Honorable Carl B. Rubin, United States District Court for the Southern District of Ohio, sitting by designation
      
    
    